                Case 3:18-cr-30051-MGM Document 27 Filed 12/07/18 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                       )
                                               )
           v.                                  )       Criminal No. 18-cr-30051-MGM
                                               )
(1) GREGG A. BIGDA and                         )
(2) STEVEN M. VIGNEAULT,                       )
            Defendants.                        )

      GOVERNMENT’S ASSENTED TO MOTION FOR A PROTECTIVE ORDER

           The United States of America, by Andrew E. Lelling, United States Attorney, respectfully

submits this Motion for a Stipulated Protective Order and states as follows:

           The United States is in the process of producing discovery in the automatic discovery

process. The United States and defendant Gregg A. Bigda, through his counsel, Matthew D.

Thompson, Esq., have agreed to the entry of the attached protective order to ensure that discovery

information is not unnecessarily disseminated, that sensitive information is filed under seal, and

that access controls are in place. The parties agree that the attached order is in the interests of

justice.

           WHEREFORE, for the reasons stated herein, the Government, with the assent of counsel

for the defendant, Matthew D. Thompson, Esq., respectfully requests that the Court enter the

Protective Order attached to this motion.

                                                       Respectfully submitted,

                                                       ANDREW E. LELLING
                                                       UNITED STATES ATTORNEY

                                               By:     /s/ Deepika Bains Shukla
                                                       Deepika Bains Shukla
                                                       Katharine Wagner
                                                       Assistant U.S. Attorneys

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         Case 3:18-cr-30051-MGM Document 27 Filed 12/07/18 Page 2 of 2



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                                 CERTIFICATE OF SERVICE

                                       December 7, 2018

        I hereby certify that this document was filed through the ECF system, which will provide
electronic notice to counsel as identified on the Notice of Electronic Filing.

                                                    /s/ Deepika Bains Shukla
                                                    Deepika Bains Shukla
                                                    Assistant U.S. Attorney




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